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8

9                               UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA
10                                 SAN FRANCISCO DIVISION
11

12   IN RE: CATHODE RAY TUBE (CRT)                  Master File No. 4:07-cv-5944-JST
     ANTITRUST LITIGATION
13                                                  MDL No. 1917
14                                                  NOTICE OF APPEAL
     This Document Relates to:
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     All Indirect-Purchaser Actions
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                                             NOTICE OFAPPEAL
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                                          NOTICE OF APPEAL
 1
            Notice is hereby given that Anthony Gianasca, the Estate of Barbara Caldwell, George
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     Maglaras, Carolyn Jorgensen Warren Cutlip, and others appeal to the United States Court of
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     Appeals for the Ninth Circuit from (1) the Order Denying Renewed Motions to Intervene, which
 4   was entered on February 4, 2020 (Dkt. 5684); (2) the Order Denying [the Appellants’ Rule 59]
 5   Motion to Alter or Amend the Court’s [February 4, 2020] Order, which was entered on April 9,
 6   2020 (Dkt. 5708); (3) the Order Granting Motion for Preliminary Approval, which was entered on
 7   March 11, 2020 (Dkt. 5695); (4) the Order Denying Motion to Intervene and Amend Complaint to
 8   Allege State Law Claims for the Other Repealer States, which was entered on October 17, 2019
 9   (Dkt. 5628); (5) the Order Rejecting the ORS Errata and Refusing to Entertain Any Motion to

10   Vacate Prior Settlement, which was entered on October 18, 2019 (Dkt. 5632); (6) the failure to

11   perform the mandate on remand of the United States Court of Appeals for the Ninth Circuit, filed

12   on March 7, 2019 (Dkt. 253, Case 16-16373), directing the district court to review, following

13   briefing and oral argument, the adequacy and including possible conflicts of interests of Lead
     Counsel Mario Alioto and other class counsel as the evidence may establish; and (7) all orders that
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     merge with any of the preceding orders appealed. The orders and the mandate are attached hereto
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     respectively as Exhibit A, B, C, D, E and F.
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            This appeal is authorized because the appellate court has “jurisdiction over the denial of a
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     motion to intervene as of right as a final appealable order under 28 U.S.C. § 1291.” Citizens for
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     Balanced Use v. Montana Wilderness Ass'n, 647 F.3d 893, 896 (9th Cir. 2011). Moreover, “[b]y
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     appealing the final judgment, [appellants] implicitly [bring] all of the district court's subordinate
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     orders within the jurisdiction of [the appellate] court.” Hall v. City of Los Angeles, 697 F.3d 1059,
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     1070 (9th Cir. 2012).
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            This appeal should be assigned to the same panel that previously decided In re Cathode
23   Ray Tube (CRT) Antitrust Litig., Case No. 16-16368 consolidated with, inter alia, Appeal Numbers
24   16-373, 16-399 and 16-16400. In its order remanding the proceeding to the district court in that
25   earlier appeal, the Court ordered that “[t]he current panel will retain responsibility for future
26   appeals in this case.” See In re Cathode Ray Tube (CRT) Antitrust Litig., 753 Fed. Appx. 438, 442
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     (9th Cir. 2019) (Case No. 16-16368, Dkt. 238 at 12). Because this appeal arises from the same
 1
     case as Appeal Number 16-16368 and the underlying consolidated cases, it should be assigned to
 2
     the panel assigned to that proceeding.
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            The representation statement required under Federal Rule of Appellate Procedure 12(b)
 4   and Ninth Circuit Rule 3-2 is attached as Exhibit G.
 5          The foregoing notice of appeal was timely filed in this case with the Court on May 7, 2020
 6   (Dkt. 5719). However, in making that original filing, the incorrect ECF event (Notice) was
 7   entered. Immediately upon being informed of that incorrect event designation, the notice of appeal
 8   was re-filed under the proper event (Notice of Appeal) and with a corrected court division code at
 9   the direction of the Court.

10

11    Dated: May 7, 2020                                 Respectfully submitted,
12                                                        /s/ Robert J Bonsignore
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 6                                                        Omitted Repealer States

 7                                   CERTIFICATE OF SERVICE

 8
            I hereby certify that a true copy of the notice of appeal [Dkt. 5719] was filed via CM/ECF
 9
     on May 7, 2020 and as a result was served on all counsel of record via transmission of Notices of
10
     Electronic Filing generated by CM/ECF and that the foregoing was filed on June 1, 2020 and as
11
     a result has been served on all counsel of record via transmission of Notices of Electronic Filing
12
     generated by CM/ECF.
13
                                                  /s/ Robert J Bonsignore
14
                                                  Robert J. Bonsignore
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